   Case 1:23-cv-07739-VMS Document 1 Filed 10/17/23 Page 1 of 17 PageID #: 1




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------------------------------X
SILLAR BAXTER,

                                   Plaintiff,                                          Case No.

        -against-
                                                                                       COMPLAINT
COMPASS GROUP USA, INC., LEVY RESTAURANTS, INC.,
JONATHAN WILLIAMS, CARLIE MCLEAN and JOHN DOE,
 in their personal and professional capacities,
                                                                                       Jury Trial Demanded
                                    Defendants.
-----------------------------------------------------------------------------------X

          The Plaintiff SILLAR BAXTER, by and through her attorneys, BERLINGIERI LAW,

 PLLC, as and for her Complaint in this action against the Defendants COMPASS GROUP USA,

 INC., LEVY RESTAURANTS, INC., JONATHAN WILLIAMS, CARLIE MCLEAN and

 JOHN DOE, in their personal and professional capacities respectfully alleges                           upon

 information and belief as follows:

                                            NATURE OF CASE

  1.     This is a civil action for damages and equitable relief based upon willful violations that

  Defendant committed of Plaintiff’s rights guaranteed to her by federal and state law,

  and complains for causes of action of: (i) discrimination based on sex under Title VII of the

  Civil Rights Act of 1964, as codified, 42 U.S.C.§ 2000e et seq., as amended (“Title VII”);

  (ii) retaliation under the Title VII; (iii) discrimination based on sex, Article 15 of the Executive

  law the New York State Human Rights Law (“NYSHRL”) § 296, et seq.; (iv) retaliation under

  NYSHRL; (v) aiding and abetting discrimination under NYSHRL; (vi) discrimination based

  on sex (“CHRL”) § 8-107 et seq., New York City Admin. Code, Ch. 1 - § 8-107; (vii) retaliation

  under CHRL; (viii) aiding and abetting discrimination under CHRL; (ix) interference with


                                                        1
     Case 1:23-cv-07739-VMS Document 1 Filed 10/17/23 Page 2 of 17 PageID #: 2




     rights under CHRL; (x) supervisory liability under CHRL 8-107(13); and (xi) any other

     claims(s) that can be inferred from the facts set forth in this Complaint.

     Plaintiff seeks monetary relief including, but not limited to: compensatory and punitive

     damages; attorney's fees and the costs of this action; together with any and all other appropriate

     legal and equitable relief pursuant to applicable state and federal law.

 2.        Costs, expert witness fees and attorney’s fees are sought pursuant to 42 U.S.C. § 1988.

                                     JURISDICTION AND VENUE

3.        This Court has jurisdiction as this case involves a federal question under Title VII of the

1964 Civil Rights Act, 42 U.S.C.§ 2000e et seq as amended, , 28 U.S.C. §1331, §1343 and pendent

jurisdiction thereto.

 4.        This Court has supplemental jurisdiction under the State laws of New York. This Court

 has supplemental jurisdiction over Plaintiff's related claims arising under NYSHRL, CHRL and

 any and all state and local law pursuant to 28 U.S.C. §1367 (a).

 5.        Venue is proper in this District pursuant to 28 U.S.C. § 1391 (b). The acts and transactions

 complained of herein occurred in this District, and Defendant was and is located in this District.

 6.        Plaintiff timely filed claims with the Equal Employment Opportunity Commission

 (“EEOC”) against Defendants Compass Group USA, Inc. and Levy Restaurants (EEOC No.

 520-2023-02244 and 520-2023-02246) respectively.

 7.        On July 19, 2023, the EEOC issued Plaintiff Notices of Right to Sue, annexed hereto as

       Exhibit A.

 8. The Plaintiff exhausted all administrative remedies prior to the commencement of this

       present action.

                                                THE PARTIES


                                                    2
       Case 1:23-cv-07739-VMS Document 1 Filed 10/17/23 Page 3 of 17 PageID #: 3




      9.       Plaintiff was and is a resident of the State of New York, at all relevant times complained

            of herein.

      10.      Defendant Compass Group USA, Inc., (“Compass”) is corporation formed under the

      laws of the State of Delaware, headquartered in North Carolina. Compass is the North American

      fully owned subsidiary of the United Kingdom based Compass Group.

      11.       Defendant Levy Restaurants, Inc. (“Levy”) is an Illinois corporation based in Chicago

      and is a fully owned subsidiary of Compass Group.

      12.      Defendant Levy is an affiliate of Compass.

      13.      Defendants Levy and Compass were co-employers.

      14.      Defendant Jonathan Williams (“Chef Williams”) was and is a resident of the State of

      Missouri and was and is a Compass/Levy’s supervising Chef.

      15.      Defendant Carlie McLean (“Ms. McLean”) was and is a resident of the State of Illinois

      and was and is Levy’s Regional Vice President of Human Resources.

      16.      Defendant John Doe (“Doe”) was and is a resident of the State of New York and was an

      culinary employee / cook of the Defendants Compass and Levy’s.

      17.      Defendants Compass, Levy, Chef Williams, Ms. McLean and Doe, are herein referred

      to as (“Defendants”).

                                          BACKGROUND FACTS

18.    Plaintiff worked for Levys Restaurants / Compass group as a chef.

19.    Plaintiff started with Defendants in September 2019.

20.    Plaintiff worked under Chef Williams a Culinary Director of Defendants Compass/Levy.

21.    Chef Williams exerted undue pressure on Plaintiff in order to have sexual relations with her.

                                                       3
      Case 1:23-cv-07739-VMS Document 1 Filed 10/17/23 Page 4 of 17 PageID #: 4




22.   Chef Williams sexually harassed Plaintiff’s throughout her employment.

23.   Chef Williams would be highly inappropriate to Plaintiff’s and made several sexual advances to

      Plaintiff’s at certain locations so Plaintiff could be near him such as St. Louis, Missouri, (Chef

      Williams hometown) and other locations across the United States.

24.   For example, Chef Williams frequently called Plaintiff after hours.

25.   Furthermore, Chef Williams sent frequent text messages to Plaintiff to build a sexual

      relationship with her.

26.   Making matters even worse, Plaintiff, in or around September 2021, informed Chef Williams

      that her paycheck was short, Chef Williams asked Plaintiff “how much money do you need”

      and gave Plaintiff approximately $200.00 cash.

27.   When Chef Williams provided Plaintiff the cash he placed it in her hand with a suggestive touch

      (Chef Williams intentionally rubbed Plaintiff’s palm with his finger) indicating that he desired

      more contact with Plaintiff.

28.   Even more, Chef Williams made frequent sexually suggestive comments to Plaintiff and made

      physical contact with Plaintiff against her will.

29.   For example, Chef Williams would call Plaintiff into his office when they worked together and

      would touch her body without her consent in a more than friendly way.

30.   Chef Williams controlled the Plaintiff’s work assignments and travel for the job.

31.   Chef Williams assigned Plaintiff to work at Texas A&M University for NCAA football events.

32.   Plaintiff reported to Chef Williams and the site director that sous chef, Kwame (last name

      unknown, male) harassed her on the basis of her gender.

33.   Kwame frequently micromanaged Plaintiff’s work, stood over her back, set her up for failure,

                                                     4
      Case 1:23-cv-07739-VMS Document 1 Filed 10/17/23 Page 5 of 17 PageID #: 5




      assigned impossible tasks for her to complete alone and mandated that she inform him when she

      had to use the bathroom.

34.   Kwame humiliated Plaintiff and was verbally abusive and aggressive with Plaintiff frequently.

35.   Chef Williams informed Plaintiff not to report the incident further, however Plaintiff had

      complained to the site director at Texas A&M who in turn reported it to Human Resources.

36.   Human Resources failed to adequately investigate and held a meeting with Plaintiff, Kwame and

      the site director. At that meeting Plaintiff expressed that she felt targeted by Kwame on the basis

      of her gender, specifically that she felt that if she was a man Kwame would not discriminate

      against her. Further, Human Resources told Plaintiff that “we apologize” for Kwame “we wil

      lsend you back” to another location, and “it’s his [Kwame] kitchen.”

37.   Kwame created a hostile work environment for Plaintiff based on gender at Texas A&M and

      Defendants’ HR’s only solution was to reassign Plaintiff and did not discipline Kwame or fully

      investigate.

38.   Chef Williams sent Plaintiff’s to the US Open at Arthur Ashe Stadium in Flushing Meadows,

      Queens, NY for an assignment in or around August / September 2022. (The 2022 US Open was

      from august 23, 2022 – September 12, 2022).

39.   On September 5, 2022, a male co-worker (name unknown) sexually assaulted Plaintiff’s.

      Plaintiff was working in the condiment kitchen, a 24 hour operation, inside the stadium.

40.   In the dishroom, in the condiment kitchen, an unknown male employee (John Doe) viciously

      sexually assaulted Plaintiff (touched Plaintiff inappropriately).

41.   Plaintiff was coming into the dishroom Plaintiff saw the person who attacked Plaintiff’s coming

      down the side of the dish machine coming towards Plaintiff’s when he reached Plaintiff’s he


                                                     5
      Case 1:23-cv-07739-VMS Document 1 Filed 10/17/23 Page 6 of 17 PageID #: 6




      walked behind Plaintiff’s grabbed Plaintiff’s on her right shoulder and put his groin area into

      her buttocks forcefully humping Plaintiff’s and took his left hand and caressed her back and then

      slapped Plaintiff’s very hard on her back where her bra would be and told Plaintiff’s “Good job.”

42.   Plaintiff had to wrestle her way from him and then Plaintiff went back into her kitchen and

      continued to work in shock.

43.   Plaintiff was upset and shocked from what happened, Plaintiff was still processing what had

      occurred and ended her shift.

44.   On September 6, 2022, after having time to process the whole incident Plaintiff called her direct

      supervisor Chef Williams who is also the director of the Culinary Division, and Plaintiff told

      him what had happened to Plaintiff’s the prior day and that Plaintiff did not want to come in

      until Plaintiff was able to speak to Human Resources (“HR”) directly.

45.   Chef Williams did not want Plaintiff’s to go to HR because he feared that Plaintiff would report

      his sexual harassment and inappropriate actions towards Plaintiff’s.

46.   Chef Williams failed to make a report of her complaint of sexual harassment. Plaintiff asked Mr.

      Williams to not call Plaintiff on her personal cell phone but he called Plaintiff on a three-way

      call with the VP of HR Carlie McLean. Plaintiff reported the sexual harassment to Ms. McLean,

      however she took no action and failed to investigate.

47.   Chef Williams and Ms. McLean requested that Plaintiff come to the stadium for a meeting the

      next day on September 7, 2022 at 9:00 AM.

48.   Plaintiff arrived at the stadium to meet with Ms. McLean and Chef Williams, however Chef

      Williams failed to appear at the meeting.

49.   Defendants terminated Plaintiff on September 7, 2022 at her meeting with HR (including Ms.


                                                    6
       Case 1:23-cv-07739-VMS Document 1 Filed 10/17/23 Page 7 of 17 PageID #: 7




       McLean).

50.    Plaintiff reported the sexual assault to the NYPD on September 7, 2022 and made a police report

       of the events of September 5, 2022.

                                     AS AND FOR A FIRST COUNT
                                FOR DISCRIMINATION UNDER TITLE VII
                                       (AS TO COMPASS / LEVY)

      51.     Plaintiff repeats, reiterates, and re-alleges each and every allegation set forth above with

      the same force and effect as if more fully set forth herein.

      52.     Title VII states in relevant part as follows: SEC. 2000e-2. [Section 703] (a) Employer

      practices: It shall be an unlawful employment practice for an employer - (1) to fail or refuse to

      hireor to discharge any individual, or otherwise to discriminate against any individual with

      respect to his compensation, terms, conditions, or privileges of employment, because of such

      individual’s race, color, religion, sex, or national origin; . . .

      53.     Defendant the employer Defendants engaged in unlawful employment practices

      prohibitedby 42 U.S.C. §2000e et seq., by allowing discrimination based on sex/gender and

      prior complaints and causing a hostile work environment.

      54.     The employer Defendants violated the above and Plaintiff suffered numerous damages

      as a result.


                                   AS AND FOR A SECOND COUNT
                                 FOR RETALIATION UNDER TITLE VII
                                       (AS TO COMPASS / LEVY)

      55.     Plaintiff repeats, reiterates, and re-alleges each and every allegation set forth above with

      the same force and effect as if more fully set forth herein.

      56.     Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §2000e-3(a) provides

      thatit shall be unlawful employment practice for an employer: “(1) to . . . discriminate against


                                                         7
       Case 1:23-cv-07739-VMS Document 1 Filed 10/17/23 Page 8 of 17 PageID #: 8




      any of his employees . . . because [s]he has opposed any practice made an unlawful employment

      practiceby this subchapter, or because [s]he has made a charge, testified, assisted or participated

      in any manner in an investigation, proceeding, or hearing under this subchapter.”

      57.     The employer Defendants engaged in unlawful employment practice prohibited by 42

      U.S.C. §2000e et seq. by retaliating against Plaintiff with respect to the terms, conditions or

      privileges of employment because of her opposition to the unlawful employment practices of

      the employer Defendants.

      58.     The employer Defendants violated the above and Plaintiff suffered numerous damages

      as a result.

                               AS AND FOR THE THIRD CAUSE OF
                                ACTION DISCRIMINATION UNDER
                             NEW YORK STATE HUMAN RIGHTS LAW
                                 (AGAINST ALL DEFENDANTS)
      59.     Plaintiff repeats, reiterates, and re-alleges each and every allegation set forth above

      withthe same force and effect as if more fully set forth herein.

60.    Executive Law § 296 provides that “1. It shall be an unlawful discriminatory practice: (a) For

       an employer or licensing agency, because of an individual's age, race, creed, color, national

       origin, sexual orientation, military status, sex, disability, predisposing genetic characteristics,

       marital status, or domestic violence victim status, to refuse to hire or employ or to bar or to

       discharge from employment such individual or to discriminate against such individual in

       compensation or in terms, conditions or privileges of employment.”

61.    Defendants engaged in an unlawful discriminatory practice by discriminating against the

       Plaintiff based on sex/gender and prior complaints.

62.    Plaintiff hereby makes a claim against all Defendants under all of the applicable paragraphs of

       Executive Law Section 296.


                                                      8
       Case 1:23-cv-07739-VMS Document 1 Filed 10/17/23 Page 9 of 17 PageID #: 9




      63. Plaintiff seeks damages as a result of Defendants’ unlawful conduct.

                      AS AND FOR THE FOURTH CAUSE OF ACTION
                       NEW YORK STATE HUMAN RIGHTS LAW
                           (AGAINST ALL DEFENDANTS)

      64.    Plaintiff repeats, reiterates, and re-alleges each and every allegation set forth above

      withthe same force and effect as if more fully set forth herein.

65.   New York State Executive Law §296(7) provides that it shall be an unlawful discriminatory

      practice: “For any person engaged in any activity to which this section applies to retaliate or

      discriminate against any person because he has opposed any practices forbidden under this

      article.”

66.   Defendants engaged in an unlawful discriminatory practice by creating a hostile work

      environment based on disability and wrongfully retaliating against Plaintiff.

                                AS A FIFTH CAUSE OF ACTION
                              FOR AIDING AND ABETTING UNDER
                                   NEW YORK STATE LAW
                                (AGAINST ALL DEFENDANTS)


67.   Plaintiff repeats and re-alleges each and every allegation made in the above paragraphs of this

      complaint.

68.   New York State Executive Law §296(6) further provides that “It shall be an unlawful

      discriminatory practice for any person to aid, abet, incite, compel or coerce the doing of any of

      the acts forbidden under this article, or to attempt to do so.”

69.   Defendants engaged in an unlawful discriminatory practice by aiding, abetting, compelling

      and/or coercing the discriminatory behavior as stated herein.

70.   Defendants violated the above section as set forth herein.




                                                      9
      Case 1:23-cv-07739-VMS Document 1 Filed 10/17/23 Page 10 of 17 PageID #: 10




                               AS A SIXTH CAUSE OF ACTION
                               FOR DISCRIMINATION UNDER
                         THE NEW YORK CITY ADMINISTRATIVE CODE
                                (AGAINST ALL DEFENDANTS)


71.   Plaintiff repeats and re-alleges each and every allegation made in the above paragraphs of this

      complaint.

72.   The Administrative Code of City of NY § 8-107 [1] provides that "It shall be an unlawful

      discriminatory practice: "(a) For an employer or an employee or agent thereof, because of the

      actual or perceived age, race, creed, color, national origin, gender, disability, marital status,

      sexual orientation or alienage or citizenship status of any person, to refuse to hire or employ or

      to bar or to discharge from employment such person or to discriminate against such person in

      compensation or in terms, conditions or privileges of employment."

73.   Defendants engaged in an unlawful discriminatory practice in violation of New York City

      Administrative Code Title 8, by creating and maintaining discriminatory working conditions and

      a hostile work environment, and otherwise discriminating against the Plaintiff because of

      Plaintiff's sex/gender and prior complaints.

74.   Plaintiff hereby makes a claim against Defendants under all of the applicable paragraphs of New

      York City Administrative Code Title 8.

75.   Defendants violated the above section as set forth herein.




                                                     10
      Case 1:23-cv-07739-VMS Document 1 Filed 10/17/23 Page 11 of 17 PageID #: 11




                           AS A SEVENTH CAUSE OF ACTION
                              FOR RETALIATION UNDER
                      THE NEW YORK CITY ADMINISTRATIVE CODE
                             (AGAINST ALL DEFENDANTS)


76.   Plaintiff repeats and re-alleges each and every allegation made in the above paragraphs of this

      complaint.

77.   The New York City Administrative Code Title 8, §8-107(1)(e) provides that it shall be unlawful

      discriminatory practice: "For an employer . . , to discharge . . . or otherwise discriminate against

      any person because such person has opposed any practices forbidden under this chapter. . . "

78.   Defendants engaged in an unlawful discriminatory practice in violation of New York City

      Administrative Code Title 8, §8-107(1) (e) by discriminating against the Plaintiff because of

      Plaintiff's opposition to the unlawful employment practices of Plaintiff's employer.

79.   Defendants violated the above section as set forth herein.

                              AS AN EIGHTH CAUSE OF ACTION
                             FOR AIDING AND ABETTING UNDER
                         THE NEW YORK CITY ADMINISTRATIVE CODE
                                (AGAINST ALL DEFENDANTS)


80.   Plaintiff repeats and re-alleges each and every allegation made in the above paragraphs of this

      complaint.

81.   The New York City Administrative Code Title 8, §8-107(6) provides that it shall be unlawful

      discriminatory practice: "For any person to aid, abet, incite, compel; or coerce the doing of any

      of the acts forbidden under this chapter, or attempt to do so."

82.   Defendants engaged in an unlawful discriminatory practice in violation of New York City

      Administrative Code Title 8, §8-107(6) by aiding, abetting, inciting, compelling and coercing

      the above discriminatory, unlawful and retaliatory conduct.



                                                     11
      Case 1:23-cv-07739-VMS Document 1 Filed 10/17/23 Page 12 of 17 PageID #: 12




                               AS A NINTH CAUSE OF ACTION
                                 FOR INTERFERENCE UNDER
                         THE NEW YORK CITY ADMINISTRATIVE CODE
                                (AGAINST ALL DEFENDANTS)


83.   Plaintiff repeats and re-alleges each and every allegation made in the above paragraphs of this

      complaint.

84.   Section 8-107(19), entitled Interference With Protected Rights provides that “It shall be an

      unlawful discriminatory practice for any person to coerce, intimidate, threaten or interfere with,

      or attempt to coerce, intimidate, threaten or interfere with, any person in the exercise or

      enjoyment of, or on account of his or her having aided or encouraged any other person in the

      exercise or enjoyment of, any right granted or protected pursuant to this section.”

85.   Defendants violated the above section as set forth herein.

                               AS A TENTH CAUSE OF ACTION
                            FOR SUPERVISORY LIABILITY UNDER
                         THE NEW YORK CITY ADMINISTRATIVE CODE
                                (AGAINST ALL DEFENDANTS)


86.   Plaintiff repeats and re-alleges each and every allegation made in the above paragraphs of this

      complaint.

87.   Section 8-107(13) entitled Employer Liability For Discriminatory Conduct By Employee, Agent

      or Independent Contractor provides "An employer shall be liable for an unlawful discriminatory

      practice based upon the conduct of an employee or agent which is in violation of any provision

      of this section other than subdivisions one and two of this section." b. An employer shall be

      liable for an unlawful discriminatory practice based upon the conduct of an employee or agent

      which is in violation of subdivision one or two of this section only where: (1) the employee or

      agent exercised managerial or supervisory responsibility; or (2) the employer knew of the



                                                    12
      Case 1:23-cv-07739-VMS Document 1 Filed 10/17/23 Page 13 of 17 PageID #: 13




      employee's or agent's discriminatory conduct, and acquiesced in such conduct or failed to take

      immediate and appropriate corrective action; an employer shall be deemed to have knowledge

      of an employee's or agent's discriminatory conduct where that conduct was known by another

      employee or agent who exercised managerial or supervisory responsibility; or (3) the employer

      should have known of the employee's or agent's discriminatory conduct and failed to exercise

      reasonable diligence to prevent such discriminatory conduct.

88.   Defendants violated the above section as set forth herein.

                                     DEMAND FOR A JURY TRIAL

      89. Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demands a trial by jury on all

         claims in this action.

                                         PRAYER FOR RELIEF

             WHEREFORE, Plaintiff demands judgment against Defendant as follows:

             A.      A judgment declaring that the practices complained of herein are unlawful and

      inwillful violation of the aforementioned federal; and state and city laws;

             B.      Awarding Plaintiff compensatory damages;

             C.      Awarding Plaintiff punitive damages;

             D.      Awarding Plaintiff costs and disbursements incurred in connection with this

      action,including reasonable attorneys’ fees, expert witness fees, and other costs;

             E.      Pre-judgment and post-judgment interest, as provided by law; and




                                                     13
Case 1:23-cv-07739-VMS Document 1 Filed 10/17/23 Page 14 of 17 PageID #: 14




     F.     Granting Plaintiff further relief as this Court finds necessary and proper.

Dated: New York, New York
       October 17, 2023

                                  Respectfully submitted,


                                  By:_____________________________________
                                  CHRISTOPHER J. BERLINGIERI, ESQ. (CB1988)
                                  BERLINGIERI LAW, PLLC
                                  Attorney for Plaintiff
                                  244 Fifth Avenue, Suite F276
                                  New York, New York 10001
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                                  Email: cjb@nyctlaw.com




                                            14
Case 1:23-cv-07739-VMS Document 1 Filed 10/17/23 Page 15 of 17 PageID #: 15




                     EXHIBIT A
           Case 1:23-cv-07739-VMS Document 1 Filed 10/17/23 Page 16 of 17 PageID #: 16



 EEOC Form 161-B (01/2022)            U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                        NOTICE OF RIGHT TO SUE (ISSUED ON REQUEST)
 To:    Ms. Sillar Baxter                                                           From:   New York District Office
        97-05 Horace Harding Expressway                                                     33 Whitehall St, 5th Floor
        Flushing, NY 11368                                                                  New York, NY 10004



 EEOC Charge No.                                       EEOC Representative                                                  Telephone No.
 520-2023-02244                                        PAUL ESPOSITO,                                                       19295065286
                                                       Investigator

                                                                                            (See also the additional information enclosed with this form.)

NOTICE TO THE PERSON AGGRIEVED:
Title VII of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title VII, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Title VII, the ADA or GINA must be filed in a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a claim under
state law may be different.)
        More than 180 days have passed since the filing of this charge.
        The EEOC is terminating its processing of this charge.



Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 years (3 years) before you file suit may not be collectible.


If you file suit, based on this charge, please send a copy of your court complaint to this office.

                                                    On behalf of the Commission

                                                    Digitally Signed By:Timothy Riera
                                                    07/19/2023
 Enclosures(s)                                      Timothy Riera
                                                    Acting District Director


 cc:    Jocelyn Hoefling
        jocelyn@gardnerskelton.com

        Christopher J Berlingieri
        Berlingieri Law, PLLC
        244 Fifth Avenue Suite F276
        New York, NY 10001
           Case 1:23-cv-07739-VMS Document 1 Filed 10/17/23 Page 17 of 17 PageID #: 17



 EEOC Form 161-B (01/2022)            U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                        NOTICE OF RIGHT TO SUE (ISSUED ON REQUEST)
 To:    Ms. Sillar Baxter                                                           From:   New York District Office
        97-05 Horace Harding Expressway                                                     33 Whitehall St, 5th Floor
        Flushing, NY 11368                                                                  New York, NY 10004



 EEOC Charge No.                                       EEOC Representative                                                  Telephone No.
 520-2023-02246                                        PAUL ESPOSITO,                                                       19295065286
                                                       Investigator

                                                                                            (See also the additional information enclosed with this form.)

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        More than 180 days have passed since the filing of this charge.
        The EEOC is terminating its processing of this charge.



Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
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any violations that occurred more than 2 years (3 years) before you file suit may not be collectible.


If you file suit, based on this charge, please send a copy of your court complaint to this office.

                                                    On behalf of the Commission

                                                    Digitally Signed By:Timothy Riera
                                                    07/19/2023
 Enclosures(s)                                      Timothy Riera
                                                    Acting District Director


 cc:    Nicole Gardner
        501 East Blvd
        Charlotte, NC 28203
        Jocelyn Hoefling
        501 East Blvd
        Charlotte, NC 28203
        Monica Halloran
        Levy
        2400 Yorkmont Rd
        Charlotte, NC 28217

        Christopher J Berlingieri
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